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10                               UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA

12    IN RE: SOCIAL MEDIA ADOLESCENT                  Case No. 4:22-MD-03047-YGR
      ADDICTION/PERSONAL INJURY
13    PRODUCTS LIABILITY LITIGATION                   MDL No. 3047
14
      This Document Relates to:                      PLAINTIFFS’ EIGHTH CONSOLIDATED EX
15                                                   PARTE APPLICATION FOR APPOINTMENT
      K.O. and J.O., individually and as next of     OF GUARDIANS AD LITEM
16    friend to minor D.O. v. Meta Platforms,
      Inc., et al., 4:23-cv-04255
17
      K.P., individually and as next of friend to
18    minor S.P. v. Meta Platforms, Inc., et al.,
      4:23-cv-05794
19
      I.T. individually and as next of friend to
20    minor, A.P. v. Meta Platforms, Inc., et al.,
      4:23-cv-03292
21

22

23

24

25                                             APPLICATION

26          Pursuant to this Court’s Order Regarding Appointment of Guardian Ad Litem (“Guardians

27   Ad Litem Order”) (ECF No. 122 at 3), Plaintiffs’ Liaison Counsel, Jennie Lee Anderson, hereby

28   submits Plaintiffs’ Eighth Consolidated Ex Parte Application for Appointment of Guardians Ad

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 1   Litem (“Ex Parte Application”) for this Court’s consideration.

 2           “Fit parents are presumed to act in the best interests of their children.” J.B. by &

 3   Through Billiet v. Tuolumne Cnty. Superintendent of Sch., No. 19-cv-0858-NONE-EPG, 2021

 4   WL 3115195, at *2 (E.D. Cal. July 22, 2021) (citing Troxel v. Granville, 530 U.S. 57, 66 (2000);

 5   Doe v. Heck, 327 F.3d 492, 521 (7th Cir. 2003)); see also Brown v. Alexander, No. 13-cv-01451-

 6   RS, 2015 WL 7350183, at *1 (N.D. Cal. Nov. 20, 2015) (“In general, a parent who is also a party

 7   to the lawsuit is presumed to be a suitable guardian ad litem, and so the court often appoints the

 8   parent as guardian ad litem upon receipt of an ex parte application without exercising much

 9   discretion.”) (citation omitted). Absent a conflict of interest, “[a] parent is generally appointed

10   guardian ad litem.” A.G. v. South Bay Dreams Coop., Inc., No. 16-cv-02598-RNB, 2018 WL

11   2002370, at *3 (S.D. Cal. Apr. 30, 2018) (citing Anthem Life Ins. Co. v. Olguin, No. 06-cv-

12   01165-AWI NEW (TAG), 2007 WL 1390672, at *3 (E.D. Cal. May 9, 2007)); accord J.M. v.

13   Liberty Union High Sch. Dist., No. 16-cv-05225-LB, 2016 WL 4942999, at *2 (N.D. Cal.

14   Sept.16, 2016). However, “[w]hen there is a potential conflict between a perceived parental

15   responsibility and an obligation to assist the court in achieving a just and speedy determination of

16   the action, a court has the right to select a guardian ad litem who is not a parent if that guardian

17   would best protect the child’s interests.” J.M., 2016 WL 4942999, at *1 (citations omitted)

18   (internal quotation marks omitted).

19           Attached as Exhibits 1-3 to the Declaration of Jennie Lee Anderson in Support of

20   Plaintiffs’ Eighth Consolidated Ex Parte Application for Appointment of Guardians Ad Litem

21   (“Anderson Decl.” or “Anderson Declaration”) are the Ex Parte Applications for Appointment of

22   Guardians Ad Litem (“Applications”) submitted by the parents and/or legal guardians of individual

23   minor Plaintiffs in the following cases:

24      •   K.O. and J.O., individually and as next of friend to minor D.C. v. Meta Platforms, Inc., et

25          al., 4:23-cv-04255 (Exhibit 1);

26      •   K.P., individually and as next of friend to minor S.P. v. Meta Platforms, Inc., et al., 4:23-

27          cv-05794 (Exhibit 2); and

28      •    I.T. individually and as next of friend to minor, A.P. v. Meta Platforms, Inc., et al., 4:23-

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 1          cv-03292 (Exhibit 3).

 2          Exhibits 1-3 to the Anderson Declaration are Applications submitted to Plaintiffs’ Liaison

 3   Counsel for filing since the last guardian ad litem submission. The Applications attached to the

 4   Anderson Declaration as Exhibits 1-3 are consistent with Attachment A to this Court’s Guardian

 5   Ad Litem Order (ECF No. 122) and include (1) the applicant’s name and contact information

 6   (including address, email, and telephone number); (2) the name, case number, state of domicile

 7   (and its minimum age of capacity); (3) a sworn statement that the applicant is the parent and/or

 8   legal guardian of the minor plaintiff; and (4) a sworn statement affirming that the applicant is

 9   fully competent and qualified to understand and protect the rights of the minor plaintiff and has

10   no interests adverse to the interests of that person. Anderson Decl. ¶ 6.

11          Pursuant to this Court’s Guardians Ad Litem Order, the Applications by parents and/or

12   legal guardians in the cases listed above are deemed presumptively approved upon filing, as there

13   is no apparent conflict between the applicants’ parental responsibility and their obligation to assist

14   the Court in “achieving a just and speedy determination of the action.” ECF No. 122 ¶ 4 (citing

15   J.M., 2016 WL 494299, at *1). This Court also ordered that, absent the filing of an objection, the

16   presumptive approval shall become final fifteen days after the date this Ex Parte Application is

17   filed. ECF No. 122 ¶ 5. Therefore, the objection period will close on March 11, 2024.

18          Accordingly, Plaintiffs submit herewith a [Proposed] Order Granting Ex Parte

19   Applications and Appointing Guardian Ad Litem appointing the parent and/or legal guardian

20   named in the Applications submitted in the case listed above.

21   Dated: February 23, 2024                      Respectfully submitted,

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